          Case 20-11157          Doc 13 Filed 05/21/20 Entered 05/21/20 17:22:31                    Desc
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                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF MASSACHUSETTS


In Re:   Legacy Global Sports, L.P. ,                                Chapter: 7
         Debtor                                                      Case No: 20−11157
                                                                     Judge Janet E. Bostwick

                             SUMMONS TO DEBTOR IN INVOLUNTARY CASE

To the above named debtor:

A petition under Title 11 of the United States Code was filed against you on MAY 20, 2020 in the U.S. Bankruptcy
Court for the District of Massachusetts requesting an order for relief under chapter 7 of the Bankruptcy Code.

YOU ARE SUMMONED and required to submit to the clerk of the bankruptcy court a motion or answer to the
petition within 21 days after the service of this summons. A copy of the petition is attached.

                      Address of Clerk:

                                U. S. Bankruptcy Court
                                J.W. McCormack Post Office & Court House
                                5 Post Office Square, Suite 1150
                                Boston, MA 02109−3945

At the same time, you must also serve a copy of the motion or answer upon the petitioners' attorney.

                      Name and Address of Petitioners' Attorney:

                                Joseph S.U. Bodoff
                                Rubin and Rudman LLP
                                53 State Street
                                Boston, MA 02109

If you make a motion, your time to serve an answer is governed by Bankruptcy Rule 1011(c).

If you fail to respond to this summons, the order for relief will be entered.

Date:5/21/2020                                                       Mary P. Sharon
                                                                     Clerk, U.S. Bankruptcy Court
                                                                     By the Court,

                                                                     Cynthia Martin
                                                                     Deputy Clerk
                                                                     (617) 748− 5323
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                                    Involuntary Summons Page 2 of 2
                                                                               Chapter 7
                                                                               Case Number: 20−11157
                                                                               Judge Janet E. Bostwick




                                            CERTIFICATE OF SERVICE

I, ___________________________________(name), certify that on __________________ (date), I served this
summons and a copy of the involuntary petition on _________________(name), the debtor in this case, by
[describe the mode of service and the address at which the debtor was served]:




If service was made by personal service, by residence service, or pursuant to state law, I further certify that I am,
and at all times during the service of process was, not less than 18 years of age and not a party to the matter
concerning which service of process was made.




                      Under penalty of perjury, I declare that the foregoing is true and correct.




            ______________                                                 ________________________________
                 Date                                                                  Signature
